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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

IN RE:                                     *
CONDITIONS OF PROBATION                    *                        MISC. NO. 00-308
                                           *
                                         ******
                                 STANDING ORDER 2020-12

       The Judges of this Court have determined that the following conditions are required by

law in every judgment imposing a term of Probation:

                                    Mandatory Conditions

   x   You must not commit another federal, state or local crime.

   x   You must not unlawfully possess a controlled substance.

   x   You must refrain from any unlawful use of a controlled substance. You must submit to

       one drug test within 15 days of placement on probation and at least two periodic drug

       tests thereafter, as determined by the Court. This condition may be suspended based on

       the Court’s determination that you pose a low risk of future substance abuse.

   x   You must cooperate in the collection of DNA as directed by the probation officer.

   x   If applicable, you must comply with the requirements of the Sex Offender Registration

       and Notification Act (34 U.S.C. § 20901, et seq.) as directed by the probation officer, the

       Bureau of Prisons, or any state sex offender registration agency in the location where you

       reside, work, are a student, or were convicted of a qualifying offense.

   x   If applicable, you must participate in an approved program for domestic violence.

   x   If applicable, you must make restitution in accordance with 18 U.S.C. §§ 2248, 2259,

       2264, 2327, 3663, 3663A, and 3664.

   x   You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
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   x   If the judgment imposes a fine, you must pay in accordance with the Schedule of

       Payments sheet in the judgment.

   x   You must notify the Court of any material change in your economic circumstances that

       might affect your ability to pay restitution, fines, or special assessments.



       The Judges of this Court have further determined that the following standard conditions

establish the basic expectations of behavior for persons on supervision and identify the minimum

tools needed by probation officers to keep informed, report to the Court about, and bring about

improvements in the conduct and conditions of persons on supervision. Accordingly, absent

unusual circumstances, these conditions are to be included in every judgment imposing a term of

Probation.

                                          Standard Conditions

   x   You must report to the probation office in the federal judicial district where you are

       authorized to reside within 72 hours of the time you were sentenced, unless the probation

       officer instructs you to report to a different probation office or within a different time

       frame.

   x   After initially reporting to the probation office, you will receive instructions from the

       Court or the probation officer about how and when you must report to the probation

       officer, and you must report to the probation officer as instructed.

   x   You must not knowingly leave the federal judicial district where you are authorized to

       reside without first getting permission from the Court or the probation officer.

   x   You must answer truthfully the questions asked by your probation officer.




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x   You must live at a place approved by the probation officer. If you plan to change where

    you live or anything about your living arrangements (such as the people you live with),

    you must notify the probation officer at least 10 days before the change. If notifying the

    probation officer in advance is not possible due to unanticipated circumstances, you must

    notify the probation officer within 72 hours of becoming aware of a change or expected

    change.

x   You must allow the probation officer to visit you at any time at your home or elsewhere,

    and you must permit the probation officer to take any items prohibited by the conditions

    of your supervision that he or she observes in plain view.

x   You must work full time (at least 30 hours per week) at a lawful type of employment,

    unless the probation officer excuses you from doing so. If you do not have full-time

    employment you must try to find full-time employment, unless the probation officer

    excuses you from doing so. If you plan to change where you work or anything about

    your work (such as your position or your job responsibilities), you must notify the

    probation officer at least 10 days before the change. If notifying the probation officer at

    least 10 days in advance is not possible due to unanticipated circumstances, you must

    notify the probation officer within 72 hours of becoming aware of a change or expected

    change.

x   You must not communicate or interact with someone you know is engaged in criminal

    activity. If you know someone has been convicted of a felony, you must not knowingly

    communicate or interact with that person without first getting the permission of the

    probation officer.




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   x   If you are arrested or questioned by a law enforcement officer, you must notify the

       probation officer within 72 hours.

   x   You must not own, possess, or have access to a firearm, ammunition, destructive device,

       or dangerous weapon (i.e., anything that was designed, or was modified for, the specific

       purpose of causing bodily injury or death to another person such as nunchakus or tasers).

   x   You must not act or make any agreement with a law enforcement agency to act as a

       confidential human source or informant without first getting the permission of the Court.

   x   If the probation officer determines that you pose a risk to another person (including an

       organization), the probation officer may require you to notify the person about the risk

       and you must comply with that instruction. The probation officer may contact the person

       and confirm that you have notified the person about the risk.

   x   You must follow the instructions of the probation officer related to the conditions of

       supervision.



So ORDERED this 10th day of June, 2020.


                                                              /s/ JAMES K. BREDAR
                                                            James K. Bredar, Chief Judge
                                                            United States District Court




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